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 1                                                                    The Honorable Ricardo S. Martinez
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 7                                   UNITED STATES DISTRICT COURT FOR THE
                                       WESTERN DISTRICT OF WASHINGTON
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     RUSSELL H. DAWSON, Personal
 9   Representative of the Estate of Damaris                      No. 2:19-cv-01987-RSM
     Rodriguez; REYNALDO GIL; JOSE
10   MARTE; A.G.; I.G.; S.G.; D.G.,
11                                                  Plaintiffs,
12              v.
13   SOUTH CORRECTIONAL ENTITY                                    ORDER GRANTING DEFENDANT
     (“SCORE”), a Governmental Administrative                     SCORE’S RENEWED MOTION FOR
14   Agency; PENNY BARTLEY; JIM KELLY;                            SUMMARY JUDGMENT
     TODD BARKER; BRITTNEY PALMORE;
15   BRANDON HEATH; PEDRO SANTOS;
     MANDI JARAMILLO; WILLIAM WOO;
16   BENDA SCOTT a/k/a BRENDA SCOTT;
     ETHAN GLOVER; CHRISTOPHER FOY;
17   JANE DORE; COLMINTON ALLEN;
     AARON SEIPP; SCORE JOHN DOES 1-
18   10; NAPHCARE, INC., an Alabama
     Corporation; REBECCA VILLACORTA;
19   HENRY TAMBE; NANCY WHITNEY;
     BILLIE STOCKTON; BRITTANY
20   MARTIN; JESSICA LOTHROP; BROOKE
     WALLACE; SALLY MUKWANA; JOAN
21   KOSANKE; RITA WHITMAN; VIRGINIA
     RICHARDSON; NAPHCARE JOHN
22   DOES 1-10; KING COUNTY, a political
     subdivision of the State of Washington;
23   RAUL ADAMS; LELAND ADAMS;
     ALAN TAG,
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                                                  Defendants.
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     ORDER GRANTING DEF SCORE'S RENEWED                              KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     M.S.J. - 1                                                                     ATTORNEYS AT LAW
                                                                              801 SECOND AVENUE, SUITE 1210
     2:19-cv-01987-RSM                                                         SEATTLE, WASHINGTON 98104
                                                                                   PHONE: (206) 623-8861
     1002-01502/Dawson C19-1987 order grant MSJ                                     FAX: (206) 223-9423
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 1              THIS MATTER came on for consideration on the Defendant SCORE’s Renewed

 2   Motion for Summary Judgment and Memorandum in Support, the Court having considered

 3   the records and files herein, including specifically the following supporting materials:

 4              1.          Defendant SCORE's Renewed Motion for Summary Judgment and

 5   Memorandum in Support;

 6              2.          Declaration of John DiCroce, with exhibits 1-5, Dkt. No. 146;

 7   and, the following opposing and reply materials, if any.

 8              These records and files show that there is no genuine issue as to any material fact
 9   regarding Plaintiffs’ claims against Defendant SCORE that are the subject of the motion, and
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     that these Defendant is entitled to a summary judgment of dismissal of these claims as a matter
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     of law. Now, therefore,
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                IT IS HEREBY ORDERED that Defendant SCORE's Renewed Motion for Summary
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14   Judgment is hereby GRANTED, and all remaining claims against SCORE are hereby

15   DISMISSED with prejudice, and SCORE is no longer a party to the case.

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17              DATED this 19th day of October, 2021.
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                                                  A
                                                  RICARDO S. MARTINEZ
                                                  CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING DEF SCORE'S RENEWED                            KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     M.S.J. - 2                                                                   ATTORNEYS AT LAW
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            Case 2:19-cv-01987-RSM Document 209 Filed 10/19/21 Page 3 of 3




     Presented by:
 1
     KEATING BUCKLIN & MCCORMACK, INC., P.S.
 2

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 4   By: /s/ Stewart A. Estes
         Stewart A. Estes, WSBA #15535
 5   Attorneys for Defendant SCORE

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     ORDER GRANTING DEF SCORE'S RENEWED           KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     M.S.J. - 3                                                  ATTORNEYS AT LAW
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